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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 WELLS FARGO BANK, N.A.,                                         :
                                                                 :
                                 Plaintiff,                      :   ORDER REGARDING
                                                                 :   DEFAULT JUDGMENT
              v.
                                                                 :
                                                                 :   20 Civ. 5455 (AKH)
 STARX MOTORS LLC, et al.,                                       :
                                                                 :
                                 Defendants.                     :
                                                                 :
                                                                 :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 The interpleader plaintiff submitted a proposed default judgment. See ECF

No. 52. The interpleader plaintiff shall submit its proposed attorneys’ fees and costs and then

resubmit the proposed default judgment.



                 SO ORDERED.

Dated:           January 3, 2021                     ________/s/ Alvin K. Hellerstein_______
                 New York, New York                       ALVIN K. HELLERSTEIN
                                                          United States District Judge
